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U NITE D STATES BANKRUPTCY COURT
— Wie DISTRICT OF Flondw_

Sp dlcioenile. DIVISION

 

INRE: (3ER S@oncke. j CASE NUMBER: | 2 -CSUL >
lavestrrent [WC ;
} JUDGE
t
i
DEBTOR. CHAPTER 11
DEBTOR'S POST-CONFIRMATION
QUARTERLY OPERATING REPORT
FOR THE PERIOD

 

FROM

Comes now the above-named debtor and files its Post-Confirmation Quarterly Operating Report in accordance with the

Guidelines established by the United States Trustee and FRBP 2015.

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Attomey's Address

Debtor's Address
and “Subz 8 awa

and Phone Number:
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Note: The original Post Confirmation Quarterly Operating Report is to be filed with the Court and a copy simultaneously provided to the
United States Trustee. Monthly Operating Reports must be filed by the 20th day of the following month,

For assistance in preparing the Post Confirmation Quarterly Operating Report, refer to the following resources on the United States
‘Trustee website: http// www.usdoj.gov/ust/r2 | index.htm.

1) Instructions for Preparing Debtor's Chapter 11 Post confirmation Quarterly Operating Report

2) Initial Filing Requirements

3) Frequently Asked Questions (FAQs)
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MONTHLY OPERATING REPORT - ATTACHMENT NO. 3
POST CONFIRMATION

CHAPTER 11 POST-CONFIRMATION
BANK ACCOUNT RECONCILIATIONS

Prepare Reconcilation for each Month of the Quarter

Bank Account Information

Account Account Account Account
a #2 #3 #4

Name of Bank:
Account Number:
Pu of Account ( ti ayroll/Tax)

Type of Account (e.g. checking)

|. Balance per Bank Statement
. ADD: Deposits not credited
. SUBTRACT: Outstanding Checks

. Other Reconciling Items

. Month End Balance (Must Agree with Books)

 

Note: Attach copy of each bank statement and bank reconciliation,

 

Investment Account Information
Date of Type of Purchase Current

Bank / Account Name / Number Purchase instrument Price Value

 

 

 

 

 

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Note: Attach copy of each investment account statement,
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Numbers
Taxes/iRS
Repairs & Maintenance
Insurance
Tenant Screening

 

 

 

 

 

 

 

 

 

legal and professional ve
Mortgage
Advertisement [
Internet

 

 

Payroll - Net
Professional Fees
uilding Materials/Supplies\\ 9 CW",
ecured Creditor Payments {p44 . 95] ‘a

Telephone hAAR, Wh
Vehicle Expense/Auto | $4); EAH)
Utilities Ais
TOTAL: Bs Hey et

 

 

 

 

 

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Numbers
7 Taxes/IRS ip Ts.
Repairs & Maintenance bai do
_Insurance bbc

 

Tenant Screening

 

 

 

 

 

 

 

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Mortgage ne
Advertisement & LAY AC
Internet {hid fC |
“ Payroll - Net R3 Pat Ob

 

Professional Fees |
Building Materials/Supplies [6 2%). )
Secured Creditor Payments [fh Ay. ee!
Telephone mE Mow 21
Vehicle Expense/Auto
Utilities
TOTAL:

 

 

 

 

 

 

 

 

 

 
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Pet Ro P yh

 

Advertisement

 

internet

 

Manufacturing Supplies

 

Payroll - Net

 

Professional Fees

 

Repairs & Maintenance

 

 

 

Secured Creditor Payments

Gy, mae

 

 

 

  

 

Vehicle Expense/Auto

 

Utilities

 

 

 

TOTAL

 

 

 
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MONTHLY OPERATING REPORT - ATTACHMENT NO. 4
POST CONFIRMATION

CHAPTER 11 POST-CONFIRMATION
CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank
nt Number
of Account
of Account (e

Amount

Transaction

AL

 

{f any checks written this period have not been delivered to the payee, provide details, including the payee, amount, exptanation for

holding check and anticipated delivery date of check.

 
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October 2020 Deposit
Date Payee For Amount Category
10/1/2020 Tenant 10 Address 10 | $ 1,650.00 Rent
10/1/2020 Tenant 32 Address 32 | $ 750.00 Rent
10/1/2020 Tenant 50 Address50 | $ 850.00 Rent
10/1/2020 Tenant 36 Address 36 |S 1,500.00 Rent
10/1/2020 Tenant 18 Address 18 $ 675.00 Rent
10/1/2020 Tenant 9 Address 9 S 1,370.00 Rent
10/1/2020 Tenant 57 Address 57 $ 775.00 Rent
10/1/2020 Tenant 49 Address 49 $ 750.00 Rent
10/1/2020 Tenant 8 Address 8 § 1,395.00 Rent
10/1/2020 Tenant 2 Address 2 § 1,545.00 Rent
40/1/2020 Tenant 52 Address 52 j S$ 875.00 Rent
10/1/2020 Tenant 54 Address54 {$ 1,195.00 Rent
10/1/2020 Tenant 30 Address 30 S 725.00 Rent
10/1/2020 Tenant 56 Address 56 S 750.00 Rent
10/2/2020 Tenant 24 Address 24 S 950.00 Rent
10/2/2020 Tenant 41 Address 41 5 875.00 Rent
10/2/2020 Tenant 47 Address47 | $ 1,750.00 Rent
10/2/2020 Tenant 16 Address16 | $ 995.00 Rent
10/2/2020 Tenant 3 Address 3 § 1,295.00 Rent
10/2/2020 Tenant Address 6 S 1,420.00 Rent
10/2/2020 Tenant 15 Address 15 S 995.00 Rent
10/2/2020 Tenant 34 Address 34 | $ 1,095.00 Rent
10/2/2020 Tenant 39 Address 39 | $ 975.00 Rent
10/2/2020 Tenant 29 Address 29 $ 700.00 Rent
10/2/2020 Tenant 37 Address 37 S 725.00 Rent
10/2/2020 Tenant 33 Address 33 |S 1,397.25 Rent
10/2/2020 Tenant 2 Address 2 S 1,545.00 Rent
10/5/2020 Tenant 51 Address51 | $ 725.00 Rent
10/8/2020 Tenant 4 Address 4 § 1,000.00 Rent
10/8/2020 Tenant 26 Address 26 | S$ 875.00 Rent
10/8/2020 Tenant 32 Address 32 S 51.00 Utilities
10/13/2020 Tenant 52 Address 52 | 5$ 100.00 Utilities
10/13/2020 Tenant 41 Address 41 S 61.47 Utilities
10/13/2020 Tenant 29 Address 29 j$ 100.31 Utilities
10/13/2020 Tenant 54 Address 54 s 155.90 Utilities
10/13/2020 Tenant 53 Address 53 S 100.00 Utilities
10/13/2020 Tenant 49 Address 49 | 5$ 140.00 Utilities
10/13/2020 Tenant 18 Address18 |$ 68.10 Utilities
10/13/2020 Tenant 51 Address51 | $ 93.38 Utilities
10/13/2020 Tenant 26 Address 26 s 111.27 Utilities
10/13/2020 Tenant 37 Address 37 $ 62.41 Utilities
10/13/2020 Tenant 25 Address 25 S 112.00 Utilities
10/13/2020 Tenant 48 Address 48 | $ 46.66 Utilities
10/13/2020 Tenant 50 Address50 |$ 46.66 Utilities

 

 
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10/13/2020 Tenant 30 Address 30 | $ 50.15 Utilities
10/13/2020 Tenant 12 Address 12 $ 170.34 Utilities
10/21/2020 Tenant 25 Address25 |5$ 138.00 Utilities
10/21/2020 Tenant 17 Address 17 | $ 136.20 Utilities
10/21/2020 Tenant 24 Address 24 |S 50.00 App Fee
10/21/2020 Tenant 39 Address 39 | $ 194,78 Utilities
10/21/2020 Tenant 57 Address 57 |$ 77.00 Utilities
10/21/2020 Tenant 55 Address 55 S 700.00 Rent/elec
10/28/2020 Tenant 56 Address 56 S 77.96 Utilities
10/28/2020 Tenant 12 Address 12 5 795.00 Rent
10/28/2020 Tenant 13 Address 13 | $ 1,000.00 Rent
10/28/2020 Tenant 26 Address 26 5 875.00 Rent
10/30/2020 Tenant 50 Address 50 S 850.00 Rent
10/30/2020 Tenant 29 Address 29 S 750.00 Rent
10/30/2020 Tenant 18 Address 18 | $ 675.00 Rent
10/30/2020 Tenant 49 Address 49 $ 750.00 Rent

 

 

 

 

 

 

 

Total: S 40,660.84

 
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November 2020 Deposit

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Payee For Amount Category
11/2/2020 Tenant 54 Address54 | $ 1,195.00 Rent
11/2/2020 Tenant 9 Address 9 § 1,370.00 Rent
41/2/2020 Tenant Address 6 S$ 1,420.00 Rent
11/2/2020 Tenant 37 Address 37 S 865.28 rent, lawn, APEX
11/2/2020 Tenant Address 23. | $ 1,545.00 Rent
11/2/2020 Tenant 57 Address 57 $ 775.00 Rent
11/2/2020 Tenant 10 Address10 |S 1,650.00 Rent
11/2/2020 Tenant 52 Address 52 § 875.00 Rent
11/2/2020 Tenant 2 Address 2 S$ 1,545.00 Rent
11/2/2020 Tenant 15 Address 15 S 995.00 Rent
41/2/2020 Tenant 8 Address 8 § 1,395.00 Rent
11/2/2020 Tenant 41 Address 41 S 875.00 Rent
11/2/2020 Tenant 30 Address 30 | $ 1,450.00 early tearm fee
11/2/2020 Tenant 17 Address17 | $ 1,397.25 Rent
11/2/2020 Tenant 32 Address 32 |5$ 42.00 Lawn care
11/4/2020 Tenant 3 Address 3 S 3,885.00 Rent
11/4/2020 Tenant 51 Address 51 | $ 725.00 Rent
11/4/2020 Tenant 18 Address18 | $ 50.00 Lawn care
11/4/2020 Tenant 12 Address12 | 5$ 75.00 Lawn care
11/4/2020 Tenant 48 Address 48 S 700.00 Rent
11/4/2020 Tenant 41 Address 41 |$ 62.50 Lawn care
11/4/2020 Tenant 47 Address 47 {5 1,750.00 Rent
11/4/2020 Tenant 39 Address 39 | 5 975.00 Rent
11/4/2020 Tenant 44 Address 44 S 1,650.00 Rent
11/4/2020 Tenant 1 Address 1 $ 150,00 App fee

11/12/2020 Tenant 39 Address 39 | $ 41.50 Lawn care
11/12/2020 Tenant 32 Address 32 S 101.10 Utilities
11/12/2020 Tenant 55 Address 55 S 700.00 Rent/Elec
11/12/2020 Tenant 26 Address 26 $ 125.00 Lawn care
11/12/2020 Tenant 27 Address 27 S 50.00 App fee
41/16/2020 Tenant 58 Address 58 | S 100.00 App fee
11/16/2020 Tenant 52 Address 52 | $ 150.00 App fee
11/16/2020 Tenant 57 Address 57 | $ 99.00 Utilities
11/16/2020 Tenant 52 Address 52 S 141.35 Utilities
11/16/2020 Tenant 50 Address 50 S 51.30 Utilities
11/16/2020 Tenant 48 Address 48 | S$ 51.30 Utilities
11/16/2020 Tenant 49 Address 49 5 157.00 Utilities
11/16/2020 Tenant 17 Address 17 s 230.00 Lawn care
11/16/2020 Tenant 51 Address 51 S 102.57 Utilities
11/16/2020 Tenant 26 Address 26 S 106.29 Utilities
11/16/2020 Tenant 17 Address 17 $ 166.00 Utilities
11/18/2020 Tenant 7 Address 7 $ 100.00 App fee
11/18/2020 Tenant 58 Address58 |S 6,245.00 move in fee
11/18/2020 Tenant 11 Address12 {|$ 2,475.00 move in fee

 

 

 
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11/18/2020 Tenant 53 Address 53 | $ 142.00 Utilities
1/18/2020 Tenant 39 Address 39 | $ 120.00 Utilities
11/18/2021 Tenant 12 Address12 {5 146.99 Utilities
11/19/2020 Tenant 11 Address11 |$ 1,270.00 move in fee
11/19/2020 Tenant 37 Address 37 | $ 74.37 Utilities
11/23/2020 Tenant 45 Address 45 | $ 150.00 App fee
11/23/2020 Tenant 13 Address 13 | $ 1,000.00 Rent
11/23/2020 Tenant 56 Address 56 {5 73.71 Utilities
11/23/2020 Tenant 34 Address 34 |S 1,252.00] New lease payment
11/25/2020 Tenant 45 Address 45 $ 50.00 App fee
11/30/2020 Tenant 32 Address 32 | $ 750.00 Rent
11/30/2020 Tenant 44 Address 44 S$ 1,700.00 Rent
11/30/2020 Tenant 41 Address 41 $ 875.00 Rent
11/30/2020 Tenant 9 Address 9 S 1,370.00 Rent
11/30/2020 Tenant 7 Address 7 S 5,880.00 Rent
11/30/2020 Tenant 53 Address 53 | $ 100.00 App fee
Total: S 53,563.51

 

 
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December 2020 Deposit

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Date Payee Fer Amount Category
12/2/2020 Tenant 23 Address 23 S 1,545.00 Rent
12/2/2020 Tenant 10 Address10 |$ 1,650.00 Rent
12/2/2020 Tenant 52 Address 52 | $ 875.00 Rent
12/2/2020 Tenant 15 Address 15 $ 995.00 Rent
12/2/2020 Tenant 17 Address17. |$ 1,397.50 Rent
12/2/2020 Tenant 37 Address 37 § 1,220.00 Rent
12/2/2020 Tenant 6 Address 6 § 1,420.00 Rent
12/2/2020 Tenant 57 Address 57 | $ 775.00 Rent
12/2/2020 Tenant 50 Address 50 S 850.00 Rent
12/2/2020 Tenant 18 Address 18 § 675.00 Rent
12/2/2020 Tenant 47 Address 47 S 1,750.00 Rent
12/2/2020 Tenant 12 Address 12 S 795.00 Rent
12/4/2020 Tenant 49 Address 49 $ 750.00 Rent
12/4/2020 Tenant Address $ 580.00 | move in payment
12/4/2020 Tenant 51 Address 51 S 725.00 Rent
12/4/2020 Tenant 39 Address 39 | $ 975.00 Rent
12/4/2020 Tenant 43 Address 43 § 5,345.00 | move in payment
12/7/2020 Tenant 24 Address 24 | $ 50.00 App Fee
12/7/2020 Tenant 21 Address21 |S 4,780.00] move in payment
12/9/2020 Tenant 45 Address45 | S$ 6,135.00} move in payment

12/11/2020 Tenant 54 Address 54 S 1,335.00 Rent
12/11/2020 Tenant 32 Address 32 S 115.40 Utilities
12/11/2020 Tenant 55 Address 55 S 600.00 Rent
12/11/2020 Tenant 57 Address 57 | $ 133.50 Utilities
12/15/2020 Tenant 51 Address51 |$ 92.85 Utilities
12/15/2020 Tenant 12 Address 12 | $ 77.75 Utilities
12/15/2020 Tenant 41 Address 41 $ 61.50 Utilities
12/15/2020 Tenant 49 Address49 | S$ 140.00 Utilities
12/15/2020 Tenant 57 Address57 |S 133.00 Utilities
12/15/2020 Tenant 18 Address18 |S 53.75 Utilities
12/15/2020 Tenant 48 Address 48 |S 46.44 Utilities
12/15/2020 Tenant 11 Address11 | $ 78.00 Utilities
42/16/2020 Tenant 50 Address50 |$ 46.44 Utilities
12/16/2020 Tenant 54 Address54 | $ 244.44 Utilities
12/16/2020 Tenant 32 Address 32 |$ 1,500.00 early term fee
12/21/2020 Tenant 43 Address 43 | $ 626.55 Rent prorate
12/21/2020 Tenant 42 Address 42 | $ 100.00 | move in payment
12/21/2020 Tenant 39 Address 39 $ 100.00 Utilities
12/21/2020 Tenant 30 Address 30 | $ 155.22 App Fee
12/28/2020 Tenant 52 Address52 | $ 133.50 Utilities
12/28/2020 Tenant 37 Address 37. | $ 117.50 Utilities
2/28/2020 Tenant 30 Address30 |$ 1,875.00} movein payment
12/30/2020 Tenant 44 Address 44 |S = 1,700.00 Rent
12/30/2020 Tenant 9 Address 9 $ 1,370.00 Rent

 

 
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12/31/2020 Tenant 18 Address 18 675.00 Rent

 

12/31/2020 Tenant 13 Address 13 1,075.00 Rent

 

 

 

 

 

 

 

S$
$

12/31/2020 Tenant 10 Address 10 |S 1,650.00 Rent
$

 

Total: 47,523.34
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Date Payee Amount | Payment Type Category
10/1/2020 | Payee 61 | $ 9.50 Card Vehicle Expense/Auto
10/1/2020 | Payee 209] $ 650.00 Check Repairs & maintenance
10/2/2020 | Payee 66 | S 15.96 Card Building Materials/Supplies
10/2/2020 | Payee 205|$ 389.44 Card Secure Credit Payment
10/2/2020 | Payee 201] $ 1,507.50 Check Payroll
10/2/2020 | Payee 201{ 5 315.77 Check Payroll
10/2/2020 | Payee 208] $ 2,500.00 Check Payroll
10/3/2020 | Payee ll |$ 276.89 Online Telephone
10/4/2020 | Payee 26 | $ 63.86 Card Manufacture Supplies
10/4/2020 | Payee 159] S 149.98 Online Internet

| 10/5/2020 Payee 86 | $ 1,000.00 Card Vehicle Expense/Auto
10/5/2020 S 975.00 Online
10/5/2020 S 975.00 Online
10/6/2020 | Payee 12}|$ 178.16 Card Manufacture Supplies
10/6/2020 | Payee 206} $ 1,913.19 Check Payroll
10/6/2026 | Payee 21 | $ 7.65 Check Other Expenses
10/6/2020 | Payee 178] $ 504.79 Card Secure Credit Payment
10/6/2020 } Payee 61 | $ 9.00 Card Vehicle Expense/Auto
10/7/2020 | Payee 205} 5 386.16 Card Secure Credit Payment
10/7/2020 | Payee 205} $ 491.86 Card Secure Credit Payment
10/7/2020 | Payee 81 | $ 38.50 Online Repairs & maintenance
10/8/2020 | Payee 205} $ 400.65 Card Secure Credit Payment
10/8/2020 | Payee 203| S$ 815.43 Card Payroll
10/8/2020 | Payee 203] $ 824.88 Card Payroll
10/8/2020 | Payee 203|$ 941.12 Card Payroll
10/8/2020 | Payee 203| $ 1,498.88 Card Payroll
40/9/2020 | Payee 58} $ 639.00 Card Manufacture Supplies
10/9/2020 | Payee 41 | $ 31.80 Card Office Supplies
10/9/2020 | Payee 41 | $ 63.10 Card Office Supplies
10/9/2020 | Payee 83 |S 343.74 Card Secure Credit Payment
10/9/2020 | Payee 83} S$ 192.94 Card Secure Credit Payment
10/9/2020 } Payee 83 | $ 523.34 Card Secure Credit Payment
10/9/2020 | Payee 83 | $ 645.99 Card Secure Credit Payment
10/9/2020 | Payee 202} S$ 780.00 Card Secure Credit Payment
10/9/2020 | Payee 178} S$ 660.10 Card Secure Credit Payment
10/9/2020 | Payee 178] S$ 394.20 Card Secure Credit Payment
10/9/2020 | Payee 112| $ 1,384.46 Card Secure Credit Payment
10/9/2020 | Payee 205| $ 738.52 Card Secure Credit Payment
10/9/2020 | Payee 78 |$ 255.49 Card Secure Credit Payment
10/9/2020 | Payee 151] $ 2,833.33 Card Secure Credit Payment
10/9/2020 | Payee 203} S 1,298.85 Card Payroll
10/9/2020 | Payee 82 | $ 77.99 Card Secure Credit Payment
10/9/2020 | Payee 82 }$ 300.00 Card Secure Credit Payment
10/9/2020 } Payee 211] $ 300.00 Card Secure Credit Payment
10/9/2020 | Payee 100|$ 305.48 Card Secure Credit Payment
10/9/2020 | Payee 189| $ 291.22 Card Secure Credit Payment

 

 
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| 10/9/2020 Payee 189] S 376.40 Card Secure Credit Payment
10/9/2020 | Payee 189] $ 398.86 Card Secure Credit Payment
10/9/2020 | Payee 189} $ 489.63 Card Secure Credit Payment
10/9/2020 | Payee 189 S 545.59 Card Secure Credit Payment
10/9/2020 | Payee 189} S$ 551.18 Card Secure Credit Payment
10/9/2020 | Payee 189} $ 562.00 Card Secure Credit Payment
10/9/2020 | Payee 189} $ 577.69 Card Secure Credit Payment
10/9/2020 | Payee 47 | $ 4.25 Card Manufacture Supplies
10/9/2020 | Payee 58 | $ 6.39 Card Manufacture Supplies
10/9/2020 | Payee 59 | $ 10.25 Card Vehicle Expense/Auto
10/9/2020 | Payee 189} $ 590.95 Card Secure Credit Payment
10/9/2020 | Payee 189] $ 665.50 Card Secure Credit Payment
10/9/2020 | Payee 189} $ 636.34 Card Secure Credit Payment
10/9/2020 | Payee 189| $ 687.86 Card Secure Credit Payment
10/9/2020 | Payee 189} $ 790.97 Card Secure Credit Payment
10/9/2020 | Payee 189} $ 1,015.52 Card Secure Credit Payment
10/9/2020 | Payee 189} $ 1,079.19 Card Secure Credit Payment
10/9/2020 | Payee 189} $ 1,271.05 Card Secure Credit Payment
10/9/2020 | Payee 212|$ 763.10 Card Secure Credit Payment
10/9/2020 | Payee 212} $ 766.83 Card Secure Credit Payment
40/9/2020 | Payee 212} S 1,288.04 Card Secure Credit Payment
10/9/2020 | Payee 193} $ 250.00 Card Professional
10/9/2020 | Payee6 | $ 608.83 Card Secure Credit Payment
10/9/2020 | Payee 168] $ 3,092.50 Card Professional
10/9/2020 | Payee 140} S$ 126.58 Card Secure Credit Payment
10/9/2020 | Payee 100} $ 988.24 Card Secure Credit Payment
10/11/2020] Payee12}$ 318.44 Card Manufacture Supplies
10/14/2020] Payee 46 | $ 1.00 ontine Utility
10/15/2020| Payee 84 | $ 2,194.55 Card Secure Credit Payment
10/15/2020} Payee 62 | $ 10.00 Card Vehicle Expense/Auto
10/16/2020} Payee 43 | $ 7.43 Card Vehicle Expense/Auto
10/16/2020} Payee 201] $ 1,576.12 Check Payroll
40/17/2020] Payee 13 | $ 8.03 Card Vehicle Expense/Auto
10/19/2020| Payee 33 | $ 59.08 Online Utility
10/20/2020} Payee 74 |$ 159.75 Card Manufacture Supplies
10/20/2020| Payee 63 {$ 498.00 Card Vehicle Expense/Auto
10/20/2020] Payee 13 | $ 9.00 Card Vehicle Expense/Auto
10/20/2020} Payee 88 |S 459.74 Card Repairs & maintenance
10/21/2020] Payee 59 | $ 31.63 Card Vehicle Expense/Auto
10/21/2020} Payee 59 | $ 59.46 Card Vehicle Expense/Auto
10/22/2020] Payee9 | $ 986.99 Card Secure Credit Payment
10/23/2020| Payee 176 $ 200.00 Card Maintenance
10/23/2020| Payee 176] $ 647.45 Card Maintenance
10/23/2020] Payee8 | 5 120.00 Card Medical
10/23/2020] Payee 159] $ 149.98 Card Internet
10/23/2020| Payee2 {| $ 384.10 Card Advertisement
10/23/2020| Payee 193| $ 980.00 Card Professional

 

 
 

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10/23/2020} Payee 81 | $ 38.50 Card Maintenance
10/23/2020] Payee 75 | $ 3,295.40 Card Insurance
10/23/2020] Payee 33 | $ 59.08 Online Utility
10/23/2020] Payee 14 | $ 12.38 Online Utility
10/23/2020} Payee 14 | $ 12.38 Online Utility
10/23/2020] Payeel | $ 16.81 Online Utility
10/23/2020; Payeel 5 39.05 Online Utility
10/23/2020] Payeel | $ 31.67 Online Utility
10/23/2020| Payeel | $ 70.49 Online Utility
10/23/2020 Payeel | $ 70.49 Online Utility
10/23/2020] Payee1 | $ 122.97 Online Utility
10/23/2020] Payeel {| $ 170.34 Online Utility
10/23/2020] Payee 1 S 198.29 Online Utility
10/23/2020| Payee i § 200.62 Online Utility
10/23/2020] Payeel | $ 204,30 Online Utility
10/23/2020} Payeel | $ 321.84 Online Utility
10/23/2020] Payee1 | $ 326.50 Online Utility
10/22/2020| Payeel |$ 389.78 Online Utility
10/23/2020} Payee 1 $ 280.80 Online Utility
10/23/2020] Payee 13 | $ 8.15 Card Vehicle Expense/Auto
10/23/2020| Payee 10 |$ 107.84 Online Utility
10/23/2020} Payee 10 S 65.03 Online Utility
10/23/2020{ Payee 10 {$ 116.28 Online Utility
10/23/2020} Payee 10 |$ 107.84 Online Utility
10/24/2020| Payee 66 | $ 11.00 Card Manufacture Supplies
10/25/2020} Payee 59 | $ 7.15 Card Vehicle Expense/Auto
10/26/2020} Payee 74 {S$ 282.11 Card Manufacture Supplies
10/26/2020] Payee 178| S$ 467.32 Card Secure Credit Payment
10/26/2020| Payee il |$ 276.89 Card Phone
10/26/2020] Payee 14 S 12.38 Online utility
10/26/2020] Payee 14 | $ 12.38 Online Utility
10/27/2020| Payee 74]$ 535.11 Card Manufacture Supplies
10/28/2020} Payee 36 | $ 90.00 Check Professional
10/28/2020{ Payee 74|$ 702.90 Check Manufacture Supplies
10/28/2020} Payee 59 | $ 53.05 Card Vehicle Expense/Auto
10/28/2020| Payee 66 | $ 8.52 Card Manufacture Supplies
40/29/2020| Payee 213| $ 115.85 Check Vehicle Expense/Auto
10/29/2020] Payee 209| $ 650.00 Card Maintenance
10/29/2020] Payee 209; $ 1,000.00 Card Maintenance
10/29/2020} Payee 209| $ 1,300.00 Card Maintenance
10/29/2020} Payee 203| $ 800.52 Card Payroll
10/29/2020] Payee 203] $ 840.95 Card Payroll
10/29/2020] Payee 203; $ 774.06 Card Payroll
10/29/2020} Payee 203] $ 830.55 Card Payroll
10/29/2020] Payee 58 {| $ 3.20 Card Manufacture Supplies
10/29/2020} Payee 87 |1$ 178.16 Card Secure Credit Payment
10/29/2020} Payee 86] $ 926.20 Card Vehicle Expense/Auto

 

 
 

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10/30/2020] Payee 201}] $ 1,367.40 Check Payroll

10/30/2020| Payee 208; $ 1,975.00 Check Payroll

10/30/2020] Payee 208 S 225.00 Check Payroll

10/30/2020] Payee 88 | $ 50,26 Card Secure Credit Payment

10/30/2020| Payee 62 | S$ 10.00 Card Vehicle Expense/Auto

10/31/2020} Payee 182} $ 1.59 Card Manufacture Supplies
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Date Payee Amount Payment Type Category
11/1/2020 | Payee 41 ]$ 110.85 online Office Supplies
11/1/2020 | Payee 209] $ 925.00 online Repairs & Maintenance
11/3/2020 | Payee 12 | $ 30.87 Card Manufacture Supplies
11/3/2020 | Payee 77 | $ 505.95 card Repairs & Maintenance
11/4/2020 | Payee 74} $ 430.01 Card Manufacture Supplies
11/4/2020 | Payee 205{ 5 389.44 Card Secure Credit Payment
11/4/2020 | Payee 66 | $ 11.00 Card Manufacture Supplies
11/4/2020 | Payee 61 | $ 8.60 Card Vehicle Expense/Auto
11/5/2020 | Payee 86 | $ 1,000.00 Card Vehicle Expense/Auto
11/6/2020 | Payee 178} $ 504.97 Card Secure Credit Payment
11/6/2020 | Payee 205|$ 386.16 Card Secure Credit Payment
11/6/2020 | Payee 205| S$ 400.65 Card Secure Credit Payment
11/6/2020 | Payee 205 S$ 491.86 Card Secure Credit Payment
11/6/2020 | Payee 208} $ 2,800.00 Check Payroll
11/6/2020 | Payee 201] $ 868.44 Check Payroll
11/8/2020 | Payee 13 | $ 7.01 Card Vehicle Expense/Auto
11/9/2020 | Payee 21 | $ 21.10 Card Other Expenses
11/9/2020 | Payee 178] $ 394.20 Card Secure Credit Payment
11/9/2020 | Payee 25 | $ 16.07 Check Payroll
11/9/2020 ;} Payee 189] S$ 551.18 Card Secure Credit Payment
11/9/2020 | Payee 168} $ 3,092.50 Card Professional
11/9/2020 | Payee 21 | $ 27.80 Check Other Expenses

11/10/2020| Payee 83 S 343.74 Card Secure Credit Payment
41/10/2020] Payee 83; $ 192.94 Card Secure Credit Payment
11/10/2020| Payee 83 | $ 523.34 Card Secure Credit Payment
11/10/2020] Payee 83 | $ 645.99 Card Secure Credit Payment
11/10/2020] Payee 202} $ 780.00 Card Secure Credit Payment
11/10/2020] Payee 112] $ 1,384.46 Card Secure Credit Payment
11/10/2020] Payee 205} $ 738.52 Card Secure Credit Payment
11/10/2020] Payee 78 |$ 255.49 Card Secure Credit Payment
11/10/2020| Payee 82 | $ 77.99 Card Secure Credit Payment
11/10/2020} Payee 82 |$ 300.00 Card Secure Credit Payment
11/10/2020| Payee 205|$ 305.48 Card Secure Credit Payment
11/10/2020] Payee 189} $ 291.22 Card Secure Credit Payment
11/10/2020) Payee 189| $ 376.40 Card Secure Credit Payment
11/10/2020| Payee 189| $ 398.86 Card Secure Credit Payment
11/10/2020] Payee 189} $ 489.63 Card Secure Credit Payment
11/10/2020] Payee 189} $ 545.59 Card Secure Credit Payment
11/10/2020] Payee 189} $ 562.00 Card Secure Credit Payment
11/10/2020] Payee 189| S$ 577.69 Card Secure Credit Payment
11/10/2020} Payee 189} $ 590.95 Card Secure Credit Payment
11/10/2020| Payee 189| $ 665.50 Card Secure Credit Payment
11/10/2020} Payee 189] $ 686.34 Card Secure Credit Payment
11/10/2020] Payee 189| $ 687.86 Card Secure Credit Payment
11/10/2020] Payee 189| $ 790.97 Card Secure Credit Payment
11/10/2020] Payee 189} $ 1,015.52 Card Secure Credit Payment

 

 
 

 

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11/10/2020} Payee 189} $ 1,079.19 Card Secure Credit Payment
11/10/2020] Payee 189] $ 1,271.05 Card Secure Credit Payment
11/10/2020] Payee 212} S$ 763.10 Card Secure Credit Payment
11/10/2020} Payee 212] $ 766.83 Card Secure Credit Payment
11/10/2020} Payee 212] $ 1,288.04 Card Secure Credit Payment
11/10/2020| Payee6 |S 608.83 Card Secure Credit Payment
11/10/2020] Payee 140, $ 126.58 Card Secure Credit Payment
11/11/2020} Payee 87|$ 166.06 Card Secure Credit Payment
11/12/2020} Payee 178} $ 660.10 Card Secure Credit Payment
11/12/2020| Payee 151] $ 2,833.33 Card Secure Credit Payment
11/12/2020{ Payee 211} $ 300.00 Card Secure Credit Payment
11/12/2020} Payee 193|$ 250.00 Card Professional
11/12/2020] Payee 100} S$ 988.24 Card Secure Credit Payment
11/13/2020| Payee10|$ 100.21 Card Utility
11/13/2020] Payee 62 | S 8.00 Card Vehicle Expense/Auto
11/13/2020] Payee 66 | S 3.50 Card Manufacture Supplies
11/13/2020] Payee 84 | $ 2,194.55 Card Secure Credit Payment
11/16/2020} Payee 77 |S 500.00 card Repairs & Maintenance
11/17/2020} Payee 61 | $ 7.25 Card Vehicle Expense/Auto
11/17/2020] Payee 66 | $ 2.00 Card Manufacture Supplies
11/18/2020] Payee 74 |$ 412.88 Check Manufacture Supplies
11/19/2020| Payee 33 | $ 81,94 Check Utility
11/19/2020| Payee 75 | $ 3,445.60 Check Insurance
11/20/2020| Payee 74|5 479.25 Check Manufacture Supplies
11/20/2020} Payee9 | $ 986.99 Card Secure Credit Payment
11/20/2020] Payee 66 | $ 2.12 Card Manufacture Supplies
11/20/2020] Payee 108} S$ 4.26 Card Manufacture Supplies
11/20/2020) Payee 108} $ 4.26 Card Manufacture Supplies
11/20/2020] Payee 108 | $ 4.26 Card Manufacture Supplies
11/20/2020} Payee 63 | $ 498.00 Card Vehicle Expense/Auto
11/20/2020] Payee 26 | $ 69.10 card Repairs & Maintenance
11/22/2020] Payee 41 | $ 106.59 online Office Supplies
11/22/2020] Payee 41 | $ 19,78 Online Office Supplies
11/23/2020] Payee 61 | $ 13.00 Card Vehicle Expense/Auto
11/23/2020} Payee 207{$ 103.44 Check Payroll
12/23/2020] Payee 178| $ 467.32 Card Secure Credit Payment
41/25/2020] Payee 108} $ 2.13 Card Manufacture Supplies
11/25/2020} Payee 47 | $ 5.00 Cash Manufacture Supplies
11/26/2020] Payee 41 j$ 101.94 online Office Supplies
11/27/2020] Payee 88 |$ 106.24 Card Repairs & Maintenance
11/27/2020] Payee 88 | $ 22.76 card Repairs & Maintenance
11/27/2020] Payee 26 | $ 8.09 card Repairs & Maintenance
11/28/2020] Payee 43 | $ 8.50 Card Vehicle Expense/Auto
11/30/2020] Payeel | S$ 297.48 Card Utility
11/30/2020] Payee 11 |S 276.89 Card Phone
11/30/2020| Payee 103} $ 129.00 Card Maintenance
11/30/2020| Payee9 | $ 1,000.00 Card Secure Credit Payment

 

 

 

 

 
 

 

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11/30/2020] Payeel | $ 122.97 Card Utility
11/30/2020} Payeel |S 149.99 Card Utility
11/30/2020} Payeel | $ 203.78 Card Utility
11/30/2020] Payeel | $ 221.31 Card Utility
11/30/2020] Payee lO | $ 225,89 Card Utility
11/30/2020} Payee ld | 5 12.38 Card Utility
11/30/2020| Payee 14 $ 12.38 Card Utility
11/30/2020] Payeel | $ 88.34 Card Utility
11/30/2020; Payee 1 $ 70.49 Card Utility
11/30/2020] Payeel | $ 70.49 Card Utility
11/30/2020] Payee 22 |S 975.00 Card Other-Taxes
11/30/2020! Payee 159| S 79.98 Card Internet
11/30/2020| Payee 159|$ 133.92 Card Internet
11/30/2020} Payee 2 |S 198.60 Card Advertisement
11/30/2020| Payee 10 | 5 127.47 Card Utility
11/30/2020! Payee 10 $ 208.44 Card Utility
11/30/2020| Payee1 |$ 282.70 Card Utility
11/30/2020} Payee l S 491.54 Card Utility
11/30/2020} Payeel S 106.29 Card Utility
11/30/2020] Payeel | $ 297.48 Card Utility
11/30/2020| Payeel | $ 359.02 Card Utility
11/30/2020| Payee 66 | $ 17.98 Card Manufacture Supplies
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Date Payee Amount Payment Type Category
12/3/2020 | Payee 87 |S 250.16 Card Secure Credit Payment
12/3/2020 | Payee 88 |S 693.93 Card Secure Credit Payment
12/3/2020 | Payee 108] $ 85.20 Card Manufacture Supplies
12/3/2020 | Payee 62 | $ 13.50 Card Vehicle Expense/Auta
12/3/2020 | Payee 66 | $ 2.00 Card Manufacture Supplies
12/4/2020 | Payee 26 | $ 24.42 Card Manufacture Supplies
12/4/2020 | Payee 208| $ 1,495.00 Check Payroll
12/5/2020 | Payee 13 { $ 49.58 Card Vehicle Expense/Auto
12/5/2020 | Payee 77 |S 505.95 card Repairs & Maintenance
12/5/2020 | Payee 77 |S 520.44 card Repairs & Maintenance
12/8/2020 | Payee 74 |1$ 238.56 Check Manufacture Supplies
12/8/2020 | Payee 61 | $ 10.00 Card Vehicle Expense/Auto
12/9/2020 | Payee 66 | $ 5.00 Card Manufacture Supplies
12/9/2020 | Payee 122} $ 19.99 Card Vehicle Expense/Auto
12/9/2020 | Payee 74 ]$ 166.41 Check Manufacture Supplies

12/10/2020] Payee 66 | $ 11.68 Card Manufacture Supplies
12/10/2020] Payee 74 {S$ 958.50 Check Manufacture Supplies
12/11/2020] Payee 26 | $ 173.73 Card Manufacture Supplies
12/11/2020] Payeel {$ 266.69 Card Utility
12/11/2020} Payeel | S$ 488.86 Card Utility
12/11/2020| Payeei |$ 325.00 Card Utility
12/11/2020] Payee 1 $ 106.29 Card Utility
12/11/2020] Payee1 |$ 115.38 Card Utility
12/11/2020| Payee |$ 70.49 Card Utility
12/11/2020| Payeel | 5$ 11.07 Card Utility
12/11/2020] Payeel | $ 70.49 Card Utility
12/11/2020] Payee1 | $ 11.07 Card Utility
12/11/2020} Payeel S 11.07 Card Utility
12/11/2020] Payee 74 | $ 150.00 Card Manufacture Supplies
12/11/2020| Payee 208} S$ 1,480.00 Check Payroll
12/11/2020| Payee 207|$ 871.27 Check Payroll
12/13/2020] Payee 13 | $ 10.50 Card Vehicle Expense/Auto
12/14/2020} Payee 29 | $ 1,224.96 Card Professional
12/14/2020] Payee 29 | $ 1,434.04 Card Professional
12/14/2020} Payee 29 | $ 1,176.90 Card Professional
12/14/2020! Payee 29 | $ 1,222.28 Card Professional
12/15/2020] Payee 66 {| $ 11.12 Card Manufacture Supplies
12/15/20201 Payee 33 | $ 66.64 Card Utility
12/15/2020| Payee 10 | $ 100.21 Card Utility
12/15/2020] Payee 10 | $ 21.43 Card Utility
12/15/2020) Payee 81 {| $ 500.00 Card Maintenance
12/15/2020| Payee 81 | $ 77.00 Card Maintenance
12/15/2020} Payee2 |S 221.40 Card Advertisement
12/15/2020] Payee 159| $ 74.99 Card Internet
12/15/2020} Payee 84 | $ 2,194.55 Card Secure Credit Payment

 

 

 

 

 

 
 

 

 

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12/15/2020} Payee 103] 5 98.60 Card Maintenance
12/16/2020] Payee 176] $ 309.95 Card Maintenance
12/16/2020] Payee 58 | S$ 2.66 Card Manufacture Supplies
12/17/2020} Payee 176] 5 309.95 Card Maintenance
12/17/2020} Payee 214] $ 1,900.00 Check Maintenance
12/17/2020| Payee 47 | $ 7.32 Cash Manufacture Supplies
12/17/2020{ Payee Gl | $ 12.00 Card Vehicle Expense/Auto
12/18/2020, Payee 63 |S 498.00 Card Vehicle Expense/Auto
42/18/2020} Payee 66 | S 5.00 Card Manufacture Supplies
12/18/2020| Payee 208} S 1,646.22 Check Payroll
12/18/2020| Payee 74 |S 166.22 Check Manufacture Supplies
12/19/2020} Payee 13 | $ 33.94 Card Vehicle Expense/Auto
12/22/2020} Payee9 |S 986.99 Card Secure Credit Payment
12/23/2020] Payee 61 | 5 72.50 Card Vehicle Expense/Auto
12/23/2020] Payee 77 |S 520.84 card Repairs & Maintenance
12/24/2020] Payee 207}$ 925.32 Check Payroll
12/24/2020] Payee 206] S$ 2,285.23 Check Payroll
12/24/2020] Payee 1781} S 476.32 Card Secure Credit Payment
12/24/2020] Payeel | S$ 110.68 Card Utility
12/24/2020] Payee 88 | S 351.46 Card Secure Credit Payment
12/26/2020| Payee 86 | S$ 1,000.00 Card Vehicle Expense/Auto
12/26/2020} Payee 11 | $ 283.89 Card Phone
12/27/2020} Payee 59 |S 15.20 Card Vehicle Expense/Auto
12/27/2020} Payee 59 | $ 11.53 Card Vehicle Expense/Auto
12/27/2020} Payee 132} $ 37.25 Card Manufacture Supplies
12/28/2020} Payee 13 | $ 31.82 Card Vehicle Expense/Auto
12/28/2020| Payee 10 | $ 130.52 Card Utility
12/28/2020] Payee 10 | $ 252.50 Card Utility
12/28/2020| Payeel | $ 29.89 Card Utility
12/28/2020} Payeel | $ 36.08 Card Utility
12/28/2020} Payee 1 S 61.19 Card Utility
12/28/2020] Payee l § 70.49 Card Utility
12/28/2020! Payeel | $ 70.49 Card Utility
12/28/2020) Payee 1 5 88.33 Card Utility
12/28/2020| Payeel [S$ 70.49 Card Utility
12/28/2020; Payee l S 89.51 Card Utility
12/28/2020] Payeel | $ 106.29 Card Utility
12/28/2020] Payeel | 5 115.38 Card Utility
12/28/2020} Payee 159| $ 1.04 Card internet
12/30/2020} Payee 214] $ 1,600.00 Check Maintenance
12/30/2020] Payee 209] S$ 1,225.00 Check Maintenance
12/30/2020| Payee 215/ S 5,900.00 Check Professional
12/30/2020] Payee 74 | $ 398.91 Card Manufacture Supplies
12/30/2020} Payee 74 | $ 36.21 Card Manufacture Supplies
12/30/2020] Payee 74 | $ 72.42 Card Manufacture Supplies
12/31/2020| Payee 26 | $ 41.51 Card Manufacture Supplies

 

 

 

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